            Case 2:21-cv-04052-JP Document 8 Filed 11/10/21 Page 1 of 1


                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

RACQUEL LEWIS-DAVIS,                         :
    Plaintiff,                               :
                                             :
       v.                                    :       CIVIL ACTION NO. 21-CV-4052
                                             :
U.S. DEPARTMENT OF JUSTICE,                  :
et al.,                                      :
        Defendants.                          :

                                             ORDER

       AND NOW, this 10th day of November, 2021, upon consideration of Plaintiff Racquel

Lewis-Davis’s Motion to for Leave to Proceed In Forma Pauperis (ECF No. 5), “Motion to

Withdrawal [sic] DOJ” (ECF No. 4) and pro se Complaint (ECF No. 1) it is ORDERED that:

       1.      Leave to proceed in forma pauperis is GRANTED pursuant to 28 U.S.C. § 1915.

       2.      The Complaint is DEEMED filed.

       3.      The “Motion to Withdrawal [sic] DOJ” (ECF No. 4) is GRANTED and the U.S.

Department of Justice is dismissed without prejudice as a party to this lawsuit.

       4.      The remainder of the Complaint is DISMISSED for the reasons in the Court’s

Memorandum as follows:

               a. The claims raised by Lewis-Davis on behalf of others are DISMISSED

                   WITHOUT PREJUDICE; and

               b. Lewis-Davis’s claims are DISMISSED WITH PREJUDICE.

       5.      The Clerk of Court shall CLOSE this case.

                                             BY THE COURT:

                                             /s/ John R. Padova

                                             JOHN R. PADOVA, J.
